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 8                              UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                     OAKLAND DIVISION

11
     WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
     corporation,                                   [PROPOSED] ORDER GRANTING
13                                                  DEFENDANTS NSO GROUP
                 Plaintiffs,                        TECHNOLOGIES LIMITED AND Q
14                                                  CYBER TECHNOLOGIES LIMITED’S
           v.                                       ADMINISTRATIVE MOTION TO FILE
15                                                  UNDER SEAL
     NSO GROUP TECHNOLOGIES LIMITED
16   and Q CYBER TECHNOLOGIES LIMITED,
17                   Defendants.                    Action Filed: 10/29/2019
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     [PROPOSED] ORDER                                                    Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH         Document 604-5          Filed 03/14/25      Page 2 of 2



 1          This Court, having considered the Administrative Motion to File Under Seal submitted by

 2   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited (collectively,

 3   the “Defendants”), and the Declaration of Aaron S. Craig filed in support thereof IT IS HEREBY

 4   ORDERED that the Motion is GRANTED and the following documents WILL BE SEALED, as

 5   follows:

 6
                                     Document                                   Portion(s) to Seal
 7
           Declaration of Aaron S. Craig in Support of Defendants’            Indicated portions of
 8         Opposition to Plaintiffs’ Motion for Permanent Injunction          paragraphs: 2-11, 13
           Defendants’ Opposition to Plaintiffs’ Motion for Permanent         Indicated portions of
 9         Injunction (“Defendants’ Opposition)                               pages: 2, 3, 15
10         Declaration of Yaron Shohat in Support of Defendants’              Indicated portions of
11         Opposition                                                         paragraphs: 6, 7

12         Exhibit A to the Declaration of Joshua J. Minkler in Support       Indicated portions of
           of Defendants’ Opposition                                          paragraphs: 29, 30, 33
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15          To the extent it is necessary in future court filings in this case for the parties to make
16   reference to the sealed content of the Sealed Documents, those matters may also be filed under
17   seal pursuant to this Order.
18
            IT IS SO ORDERED.
19

20    DATED: _________________
21                                                THE HONORABLE PHYLLIS J. HAMILTON
22                                                SENIOR UNITED STATES DISTRICT JUDGE

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     [PROPOSED] ORDER                                                            Case No. 4:19-cv-07123-PJH
